     Case 4:18-cv-04050 Document 52 Filed on 12/30/20 in TXSD Page 1 of 1
                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                                                                   December 31, 2020
                  IN THE UNITED STATES DISTRICT COURT               David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION




ERROL YOUNG, TDCJ #01273716,         §
                                     §
                  Plaintiff,         §
                                     §
v.                                   §          CIVIL ACTION NO. H-18-4050
                                     §
TDCJ, et al.,                        §
                                     §
                  Defendants.        §




                               FINAL JUDGMENT



      For the reasons set forth in the court's Memorandum Opinion

and Order entered on this        date,   this     action is DISMISSED with

prejudice.

      This is a FINAL JUDGMENT.

      SIGNED at Houston,    Texas, on this      Jof4..                 2020.




                                   SENIOR UNITED STATES DISTRICT JUDGE
